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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR
PRESIDENT, INC., et al.,

            Plaintiffs,

      v.
                                        Civil Action
KATHY BOOCKVAR, et al.,                 No. 4:20-cv-02078-MWB

            Defendants,                 Hon. Matthew W. Brann

NAACP-PENNSYLVANIA STATE
CONFERENCE, et al.,

            Intervenor-Defendants,

DNC SERVICES
CORPORATION/DEMOCRATIC
NATIONAL COMMITTEE,

            Intervenor-Defendant.



    MEMORANDUM IN SUPPORT OF MOTION TO DISMISS BY
   INTERVENOR-DEFENDANTS NAACP-PENNSYLVANIA STATE
  CONFERENCE, BLACK POLITICAL EMPOWERMENT PROJECT,
 COMMON CAUSE PENNSYLVANIA, LEAGUE OF WOMEN VOTERS
 OF PENNSYLVANIA, JOSEPH AYENI, LUCIA GAJDA, STEPHANIE
HIGGINS, MERIL LARA, RICARDO MORALES, NATALIE PRICE, TIM
              STEVENS, AND TAYLOR STOVER
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                                 INTRODUCTION

      This case seeks unprecedented relief. After the presidential election has

ended, Plaintiffs ask a federal court to bar the Commonwealth from certifying the

results, disenfranchising the more than 6.8 million Pennsylvanians who voted.

(Compl. p.84, cl. i.) Alternatively, they target seven counties and ask the Court to

toss out every absentee and mail-in ballot cast in those counties—the votes of more

than a million qualified Pennsylvania voters. (Compl. ¶ 108; id. p.84 cls. ii–iii.)

Plaintiffs have not advanced a single allegation of a fraudulent ballot or count in

support of their extraordinary requests. Instead, they complain about two purported

election administration issues that they knew about long before filing this action, but

chose not to raise until after the election results were clear: that observers should

have been able to stand closer to the counting, and that voters should not have been

allowed to cast a valid vote after being informed of defects with their mail-in ballot.

Plaintiffs’ demand is stunning, calling for the disenfranchisement of millions of

qualified Pennsylvania voters who braved a pandemic to cast ballots in record

numbers, without any allegation that these voters are somehow ineligible to vote or

engaged in wrongdoing.

      This Motion is brought by eight of these Pennsylvania voters who are at risk

of disenfranchisement, and by organizations representing nearly 50,000




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Pennsylvanians (the “Voter Intervenors”).1 Some of the Voter Intervenors submitted

mail-in ballots that were rejected for technical reasons, so exercised their statutory

right to vote in-person by provisional ballot. Others cast perfectly valid mail-in

ballots. All voted in good faith, relying on the General Assembly’s decision to allow

mail-in voting.

         According to Plaintiffs, these individuals’ votes and the votes of millions like

them should play no role in electing the next President. That is disenfranchisement,

plain and simple. It would violate settled principles of election law, create (not cure)

constitutional problems, and sow chaos. This Motion will not repeat the many

prudent grounds for dismissal explained by others. It offers the perspective of

voters, and two fundamental reasons why this Court should not discard millions of

votes.

         First, “if aggrieved parties, without adequate explanation, do not come

forward before the election, they will be barred from the equitable relief of

overturning the results of the election.” Soules v. Kauaians for Nukolii Campaign

Comm., 849 F.2d 1176, 1180 (9th Cir. 1988). That is what happened here. Plaintiffs

knew before Election Day that counties were notifying voters of the need to cure

defective ballots. And they knew before Election Day, and certainly before any


1
  The Voter Intervenors are the NAACP-Pennsylvania State Conference, Black
Political Empowerment Project, Common Cause Pennsylvania, League of Women
Voters of Pennsylvania (together, the “organizational Intervenors”), Joseph Ayeni,
Lucia Gajda, Stephanie Higgins, Meril Lara, Ricardo Morales, Natalie Price, Tim
Stevens, and Taylor Stover.
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counting happened, the level of access observers would have. State law creates

procedures for prompt resolution of these types of disputes. If Plaintiffs had

followed them, they could have sought timely remedies—without threatening the

counting of a single vote. Instead, they “gamble[d] upon receiving a favorable

decision of the electorate and then, upon losing, seek to undo the ballot results in a

court action.” Hendon v. N.C. State Bd. of Elections, 710 F.2d 177, 182 (4th Cir.

1983) (quotation marks omitted). “Plaintiffs are not entitled to the ‘emergency’

relief they seek because they have inexcusably waited well past the eleventh hour to

seek it.” Stein v. Cortes, 223 F.Supp. 3d 423, 437 (E.D. Pa. 2016).

      Second, as a matter of law, Plaintiffs do not allege facts capable of supporting

the relief they seek. Plaintiffs ask this Court to overturn the results of a democratic

election. Whatever level of misconduct or fraud might justify such a remedy, it is

unavailable here, where there are no well-pleaded allegations of bad faith or

intentional misconduct by Defendants, and nothing even resembling fraud or

misconduct by a single voter, much less systemic fraud. The relief requested would

itself violate the Constitution: massive disenfranchisement of Pennsylvanians

generally, or targeted disenfranchisement of millions of Pennsylvanians based on

where they live and what lawful means they used to cast a ballot.

      Four years ago, President Trump won the most votes in Pennsylvania. Faced

with a federal lawsuit brought by a losing third-party candidate seeking to disrupt

certification of that result, then-President-Elect Trump protested his opponents’
                                          3
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effort to “disenfranchise millions of Pennsylvania voters, all while robbing the

presidential and vice-presidential candidates of the added electoral heft that

Pennsylvania’s twenty electoral votes would provide.” Br. of Intervenors President-

Elect Donald Trump et al. at 30 (Dkt. 38-1), Stein v. Cortes, No. 2:16-cv-6287 (E.D.

Pa. filed Dec. 8, 2016) (Ex. A). Disenfranchisement would have been wrong then,

and it is wrong now. This case should be dismissed.

                           PROCEDURAL HISTORY

      Six days after the November 3, 2020 General Election, and two days after

every major media outlet projected that Joe Biden had won Pennsylvania’s electoral

votes, Plaintiffs filed this action seeking emergency relief. Compl. ¶ 15. Plaintiffs

allege six constitutional violations: three related to claims that county officials

permitted insufficient observation to vote canvassing sites, and three related to

claims that county officials improperly permitted voters to cure mail-in and absentee

ballots that were rejected because of alleged deficiencies. 2 Plaintiffs ask the Court

to enjoin certification of the election results entirely, or alternatively, to prohibit

counting every mail-in or absentee ballot in six counties and to prohibit counting

“cured” ballots.




2
 Plaintiffs strain to conjure up the specter of widespread fraud, but offer no well-
pleaded allegations of it, and their causes of action are ultimately premised solely
on the alleged restrictions on observation and on the notice given to voters to about
defective mail-in and absentee ballots.
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                            STATEMENT OF FACTS

      The Voter Intervenors are eight Pennsylvanians who voted by mail-in,

absentee, or provisional ballot in the 2020 General Election and four nonpartisan

organizations that are dedicated to eliminating barriers to voting and increasing civic

engagement among their members and in traditionally disenfranchised communities.

Some of the organizations’ members, and many other Pennsylvania voters, cast mail

ballots, and some of those voters needed to correct technical submission errors.

      Lucia Gajda, Stephanie Higgins, and Tim Stevens cast their votes by mail-in

ballot. Their votes were received and recorded without issue. Ms. Gajda has medical

conditions, including an autoimmune disorder, and she returned her absentee ballot

in Northampton County via an official dropbox to avoid exposure to COVID-19.

(Dkt. 31-6, ¶¶ 3, 6.) Ms. Higgins is in her third trimester of a high-risk pregnancy,

so she, too, chose to return her absentee ballot in Philadelphia County via an official

dropbox to avoid the risk of COVID-19 exposure. (Dkt. 31-5, ¶¶ 6–7.) Mr. Stevens

returned his mail-in ballot at the post office in Allegheny County because he faces

increased risk of a serious COVID-19 infection because of his age (he is 75 years

old), and based on news articles regarding how the disease disproportionately

impacts Black people such as himself. (Dkt. 31-2, ¶ 2.)

      Joseph Ayeni, Meril Lara, Ricardo Morales, Natalie Price, and Taylor Stover

submitted mail-in ballots before Election Day that were rejected due to minor

technical errors or simple mistakes made by individuals new to mail-in voting. Mr.
                                          5
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Ayeni received a call, and Ms. Lara received an email, from county election officials

notifying them that they failed to include the secrecy envelope, and both voters

subsequently cast provisional ballots. (Dkt. 31-9, ¶¶ 7–9; Dkt. 31-10, ¶¶ 7–9; Dkt.

31-8, ¶¶ 7–14; Dkt. 31-11, ¶¶ 6–9.) Mr. Morales was notified by a text from the

Service Employees International Union that his ballot had been rejected, which he

believes was due to his signing an Anglicized version of his name to fit it in the small

signature space. (Dkt. 31-7, ¶ 7.) He cast a provisional ballot. (Id. ¶ 9.) Ms. Price

was notified by the Democratic Party that her ballot was rejected. (Dkt. 31-8, ¶¶ 8,

10.) She drove to two locations, in a different town, in the pouring rain, in order to

cure her ballot and ensure her vote was counted. (Id. ¶ 15.)

      The organizational Intervenors represent nearly 50,000 members in

Pennsylvania, many of whom voted by mail and did everything that was asked of

them to cast a valid ballot. The organizational Intervenors expend substantial

resources on voter education and turnout efforts, and did so again in the run-up to

the November general election. (Dkt. 31, at 4-7.) It is their overarching mission to

ensure that every eligible Pennsylvanian has an opportunity to cast a ballot that is

counted.

                  STATEMENT OF QUESTIONS INVOLVED

      Should the Court dismiss Plaintiffs’ prayer for relief, where Plaintiffs’

request for injunctive relief is untimely and seeks to disenfranchise millions of

qualified Pennsylvania voters based on allegations of only minor discrepancies in
                                           6
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application of the Pennsylvania Election Code and no allegation of a single

fraudulent vote?

                                   ARGUMENT

I.    The Doctrine of Laches Bars Plaintiffs’ After-the-Fact Attempt to
      Invalidate the Election.
      Plaintiffs do not allege that a single ballot was counted that did not reflect the

actual voting preference of an actual registered Pennsylvania voter.            Rather,

Plaintiffs seek to discard valid votes because they are dissatisfied with the results.

The law prohibits such gambits by requiring challenges to election procedures to be

raised before the election is conducted. This rule protects voters and reflects

common sense: pre-election challenges allow problems to be fixed before the

election is held, without disrupting votes after they have been cast.

      This bedrock rule of election law is a forceful application of laches. “Laches

is an equitable doctrine that prevents recovery when a defendant can show

inexcusable delay in instituting suit and prejudice to the defendant resulting from

such delay.” Pappan Enters., Inc. v. Hardee’s Food Sys., Inc., 143 F.3d 800, 804

(3d Cir. 1998). “Laches requires proof of (1) lack of diligence by the party against

whom the defense is asserted, and (2) prejudice to the party asserting the defense.”




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Costello v. United States, 365 U.S. 265, 282 (1961); see also Stilp v. Hafer, 718 A.2d

290, 293 (Pa. 1998).3

      A.     A Candidate Cannot Wait For Election Results Before
             Challenging Alleged Errors That Could Have Been Raised
             Earlier.
      Since overturning the results of an election is an extraordinary intervention by

the judiciary into democratic processes, a challenge to election procedures should be

brought when there is still time to correct those procedures. Otherwise, parties could

“‘lay by and gamble upon receiving a favorable decision of the electorate’ and then,

upon losing, seek to undo the ballot results in a court action.” Hendon v. N.C. State

Bd. of Elections, 710 F.2d 177, 182 (4th Cir. 1983) (quoting Toney v. White, 488

F.2d 310, 314 (5th Cir. 1973)). “[C]ourts have been wary lest the granting of post-

election relief encourage sandbagging on the part of wily plaintiffs.” Soules, 849

F.2d at 1180.

      Numerous cases confirm this “general rule” of election law: “a candidate or

other election participants should not be allowed to ambush an adversary or subvert

the election process by intentionally delaying a request for remedial action to see


3
  Courts in the Third Circuit have routinely granted Rule 12 motions to dismiss
“where laches can be determined without the necessity for further factual inquiry.”
Coughlin v. Ryder, 260 F. Supp. 256, 260 (E.D. Pa. 1966); see also, e.g., Warner v.
Sun Ship, LLC, No. 11-cv-7830, 2012 WL 1521866, at *2 (E.D. Pa. Apr. 30, 2012)
(“the Third Circuit has held that laches may serve as the basis for dismissal pursuant
to Rule 12(b)(6) if applicability of the doctrine is apparent from the face of the
Complaint”). Laches are evident from the Complaint and judicially noticeable
materials that are properly considered on a Motion to Dismiss. Alternatively, the
Court may convert this motion to a motion for summary judgment under Rule 12(d),
because the facts of Plaintiffs’ delay are not subject to dispute.
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first whether they will be successful at the polls.”       United States v. City of

Cambridge, Md., 799 F.2d 137, 141 (4th Cir. 1986); see also, e.g., Carlson v. Ritchie,

830 N.W.2d 887, 892 (Minn. 2013) (“[P]etitioners cannot wait until after elections

are over to raise challenges that could have been addressed before the election.”);

Lewis v. Cayetano, 823 P.2d 738, 741 (Haw. 1992) (laches barred post-election

challenge to form of ballot, where voters had at least constructive notice of the form

for a month prior to the election).

      Laches is a close cousin of the “Purcell principle,” the “basic tenet of election

law” that “[w]hen an election is close at hand, the rules of the road should be clear

and settled.” Democratic Nat’l Comm. v. Wis. State Legislature, No. 20A66, 2020

WL 6275871, at *3 (U.S. Oct. 26, 2020) (Kavanaugh, J., concurring). It is a

“principle of judicial restraint” that “not only prevents voter confusion but also

prevents election administrator confusion—and thereby protects the State’s interest

in running an orderly, efficient election and in giving citizens (including the losing

candidates and their supporters) confidence in the fairness of the election.” Id. at

*4. The principles underlying Purcell are “especially” strong “when a plaintiff has

unreasonably delayed bringing his claim.” Crookston v. Johnson, 841 F. 3d 396,

398 (6th Cir. 2016) (“Call it what you will—laches, the Purcell principle, or

common sense—the idea is that courts will not disrupt imminent elections absent a

powerful reason for doing so.”).


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      B.     Plaintiffs Could Have Raised These Claims In Time To Address
             Them.
      Plaintiffs’ belated complaints about how the Commonwealth of Pennsylvania

ran this election are exactly what the doctrine of laches forecloses. Plaintiffs could

have raised all of their claims in time to address them without disturbing votes after

they are cast and counted. Instead, they waited for the results of the election to

become apparent, and then nearly a week after Election Day tried to reverse the

outcome. 4 “Plaintiffs unreasonably delayed filing their Complaint and Motion,

something which weighs decidedly against granting the extraordinary relief they

seek.” Republican Party of Pa. v. Cortes, 218 F. Supp. 3d 396, 404-05 (E.D. Pa.

2016) (declining to enjoin aspects of Pennsylvania’s poll-watcher statute in case

filed “eighteen days before the election”).

      Observers. Plaintiffs failed to act with diligence in raising their complaints

about the level of access granted to campaign observers during pre-canvassing and

canvassing of absentee and mail-in ballots. Amendments to the Election Code,

enacted in 2019, provided that “[o]ne authorized representative of each candidate

in an election and one representative from each political party shall be permitted to

remain in the room in which the absentee and mail-in ballots are pre-canvassed” and

“canvassed.”    25 P.S. § 3146.8(g)(1.1), (2) (emphasis added).       Plaintiffs now


4
  To the extent the Complaint suggests that allowing both in-person and
absentee/mail-in balloting somehow violates the Constitution (e.g., Compl. ¶ 14)—
a suggestion that invalidate the voting laws of every State—Plaintiffs were
necessarily aware of this two-track voting system long before the election.
                                         10
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demand far more access than “one” representative being “in the room.” See, e.g.,

Compl. ¶¶ 141, 176 (alleging that “meaningful” “presen[ce]” in the room requires

an opportunity to view and read ballots). Particularly given the reality that many

election workers process ballots simultaneously, the Election Code itself put

Plaintiffs on notice that they would not have such intimate access that they could

read the writing on each envelope. 5

      Moreover, almost a full week before Election Day, the Secretary issued

revised guidance making clear that “one authorized representative” would be

permitted to remain in the room where absentee and mail-in ballots were pre-

canvassed and canvassed, and that these authorized representatives would be

required to “maintain social distancing practices and ensure they are at least 6 feet

from others at all times.” Guidance § 4. And Plaintiffs would have witnessed

exactly how much access observers were given shortly after 7:00 a.m. on Election

Day, when pre-canvassing began.

      At any of these points, if Plaintiffs were dissatisfied with their access, they

could have gone to court. Indeed, less than an hour into pre-canvassing on Election

Day, the Trump Campaign did exactly that in Philadelphia, seeking closer access.

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5
   Pa. Dep’t of State, Guidance Concerning Poll Watchers and Authorized
Representatives        (Oct.       28,        2020),       available      at
https://www.dos.pa.gov/VotingElections/OtherServicesEvents/Documents/Poll%2
0Watcher%20Guidance%20Final%2010-6-2020.pdf.
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201107003, 2020 WL 6556823 (Pa. Com. Pl. Nov. 3, 2020), rev’d, No. 1094 C.D.

2020, 2020 WL 6551316 (Pa. Commw. Ct. Nov. 5, 2020). And the Delaware County

Republican Party did the same thing, obtaining an Order by consent on November

4. Yet Plaintiffs did not file similar challenges to observer access in Defendant

Allegheny, Centre, Chester, Montgomery, and Northampton Counties, when they

plainly could have done so.

      Plaintiffs complain that despite entry of the Delaware County order, they had

insufficient access. (Compl. ¶ 143.) But what they describe is exactly what the

consent order requires, and Plaintiffs never sought any access beyond that.

(Compare id. (objecting that observers were allowed in a room “for only five

minutes every two hours”) with Consent Order, Del. Cty. Republican Exec. Comm.

v. Del. Cty. Bd. of Elections, No. CV-2020-007523 (Del. Cty. C.C.P. Nov. 4, 2020)

(Ex. B) (observers may enter room “[a]t two-hour intervals” with “the time not to

exceed five minutes each visit”).)      And if Plaintiffs were dissatisfied with

Philadelphia’s compliance (see Compl. ¶ 146), they could have promptly sought

enforcement in state court, rather than wait for several more days of counting to be

completed. On top of all this, Plaintiffs’ Philadelphia and Delaware cases never

suggested a concern with lack of uniform treatment of observers across

Pennsylvania, an Equal Protection complaint that emerged for the first time in this

lawsuit.


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      Notice and Cure. Nor can Plaintiffs deny knowing, long before this lawsuit,

that some counties would allow voters to cure allegedly defective absentee or mail-

in ballots, whether by correcting their ballots, requesting new absentee or mail-in

ballots, or casting provisional ballots. The Complaint acknowledges Secretary

Boockvar’s guidance that counties “‘should provide information to party and

candidate representatives during the pre-canvass that identifies the voters whose

ballots have been rejected’ so that those voters ‘may be issued a provisional ballot.’”

(Compl. ¶ 135.) Even before that, it was prominently reported that Secretary

Boockvar’s deputy had notified every county that they should promptly mark

defective ballots as cancelled so that voters would receive automatic emails

notifying them that they should cure. 6

      Indeed, as early as mid-October, there was public reporting that counties were

notifying voters of defects so that they would have an opportunity to cure.7




6
  See, e.g., Jonathan Lai, Pennsylvania Struggles With How—or If—to Help Voters
Fix Their Mail Ballots, Philadelphia Inquirer (Oct. 29, 2020),
https://www.inquirer.com/politics/election/pennsylvania-flawed-mail-ballots-cure-
20201029.html (Ex. C).
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  See Ryan Eldredge, Some Pennsylvania Counties Offer Second Chances at Mail
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https://local21news.com/news/local/some-pennsylvania-counties-offer-second-
chances-at-mail-ballots-others-do-not (Ex. D); Karen Shuey, What Berks County
Voters Need to Know About Mistakes With Mail-in Ballots, The Mercury (Oct. 19,
2020), https://www.pottsmerc.com/news/what-berks-county-voters-need-to-know-
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5a68924c6ded.html (Ex. E).

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Philadelphia publicly advised voters on its website that if their ballot was marked as

cancelled, they could request a replacement or vote provisionally. 8

      C.     Plaintiffs’ Delay Was Prejudicial.
      Plaintiffs’ delay prejudiced not just Defendants but voters throughout

Pennsylvania who relied on the guidance given to them by election officials. Had

Plaintiffs brought these claims earlier, they could have sought tailored remedies to

correct Pennsylvania’s alleged errors in administering the election.          Instead,

Plaintiffs waited, and now seek to leverage their own calculated delay to ask this

Court to disenfranchise millions of voters.

      Observers. If Plaintiffs were right that Pennsylvania law required more

observer access, and if Plaintiffs had timely raised such claims, they could have

secured that access through state-court actions (like the one they brought against

Philadelphia) targeting other counties they considered problematic—and done so at

the beginning of the counting. By remedying the alleged flaw promptly, there would

have been no question that mail-in and absentee ballots would be counted. Instead,

by waiting until after the end of counting, Plaintiffs now try to cast a cloud over

ballots cast in good faith by at least 1.3 million Pennsylvania voters in the Defendant

counties. That includes voters like Intervenors Ms. Gadja, Ms. Higgins, and Mr.




8
 Office of Philadelphia City Comm’rs, Cancelled Ballot Notification Information,
available at https://www.philadelphiavotes.com/en/home/item/1873-
cancelled_ballot_notification_info.
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Stevens, who took all necessary steps to ensure that their voices count in this

election. It is difficult to conceive of greater prejudice from delay.

      Notice and Cure. Likewise, Plaintiffs’ delay in asserting their notice-and-

cure claims prejudices voters like individual intervenors Mr. Ayeni, Ms. Lara, Mr.

Morales, Ms. Price, Mr. Stover, and many of the organizational Intervenors’

members.     These voters did everything asked of them, in some cases taking

additional steps to make sure that their ballots were accepted and tallied. If Plaintiffs

had timely raised this claim, at least some voters would have been aware that there

was a risk that their absentee or mail-in ballots would be rejected, and that they

would not be notified of that rejection. Those voters could have then ensured that

their votes would be counted by heading to polling places and casting provisional

ballots. If Plaintiffs have their way, those voters will simply be disenfranchised.

Moreover, even assuming arguendo that different counties were following different

notice-and-cure procedures and that any such variation gave rise to equal-protection

issues, if Plaintiffs had timely asserted these claims, the Commonwealth could have

taken additional steps to ensure equal treatment of rejected ballots.

II.   Plaintiffs’ Requested Relief Is Unavailable as a Matter of Law.
      Because of their unreasonable delay, it is too late for Plaintiffs to seek

remedies tailored to the asserted violations.              Instead they seek mass

disenfranchisement. Even if state or county officials committed some error, that

cannot justify depriving millions of Pennsylvania voters of their right to a say in who
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will be President. This is a classic case in which “the cure [is] worse than the alleged

disease, at least insofar as the professed concern is with the right of voters to cast

effective ballots in a fair election.” Baber v. Dunlap, 349 F. Supp. 3d 68, 76 (D. Me.

2018).

      Plaintiffs’ notion that any alleged error in election administration can be a

basis for tossing out the results is deeply impractical and at odds with centuries of

law. Courts have refused to “believe that the framers of our Constitution were so

hypersensitive to ordinary human frailties as to lay down an unrealistic requirement

that elections be free of any error.” Powell v. Power, 436 F.2d 84, 88 (2d Cir. 1970).

Pennsylvania law is in accord: “For mere irregularities in conducting an election it

is not to be held void,” “because the rights of voters are not to be prejudiced by the

errors or wrongful acts of the officers of the election.” Appeal of Simon, 46 A.2d

243, 246 (Pa. 1946). Plaintiffs’ Complaint, which does not allege any instances of

fraud, systemic or otherwise, in this election, cannot support the extreme relief

requested. And far from curing any constitutional violation, Plaintiffs’ requested

injunction would create grave constitutional violations.

      A.       Plaintiffs’ Requested Relief Would Itself Violate Voters’
               Constitutional Rights.
         Plaintiffs’ prayer for relief leads with the shocking request that this Court

prohibit Defendants from certifying the 2020 general election results. (Compl.

p.84.) That would mean not only that Pennsylvania does not participate in the


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Electoral College, but that Pennsylvania would send no Representatives to the U.S.

House in January, and as of December 1 the Commonwealth would have only 25

state senators and zero state representatives. Such an order would obviously

violate the Constitution.

      “When the state legislature vests the right to vote for President in its people,

the right to vote as the legislature has prescribed is fundamental.” Bush v. Gore,

531 U.S. 98, 104 (2000) (per curiam). This “right to vote necessarily includes the

right to have the vote fairly counted.” Stein, 223 F. Supp. 3d at 437–38 (collecting

cases). Permanently enjoining the results of the election from being certified

would disenfranchise every Pennsylvanian who voted in the election, and therefore

would violate rights safeguarded by the Fourteenth Amendment’s Due Process

Clause. Id. at 442 (citing Bush v. Gore, 531 U.S. at 110).

      As a fallback, Plaintiffs ask this Court to prohibit Defendants from certifying

election results that “include the tabulation of absentee and mail-in ballots for

which Plaintiffs’ watchers were prevented from observing during the pre-canvass

and canvass in the County Election Boards.” (Compl. p.84.) The request is just as

egregiously unconstitutional. Plaintiffs ask the Court to disenfranchise 1.3 million

voters (Compl. ¶ 108)—none of whom is alleged to be ineligible to vote—solely

because a campaign could not read all the mail-in ballot envelopes as they were

being opened. (E.g., id. ¶ 148.) The Fourteenth Amendment does not permit the

Government to nullify the fundamental right to vote on such an arbitrary basis.
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      Moreover, while Plaintiffs’ Equal Protection claims are insubstantial, their

proposed remedy would create an enormous Equal Protection violation. Plaintiffs

ask this Court to count or discard votes solely on the basis of where the voter lives:

Plaintiffs never objected to access at Lycoming County’s canvassing site, so

Lycoming mail-in votes get counted, but Plaintiffs are not satisfied with the social

distancing protocols at Centre County’s site, so every Centre County mail-in voter

is disenfranchised. This would create unconstitutional disparities between the

treatment of voters who live in those counties and those who live elsewhere. See

Bush v. Gore, 531 U.S. at 104–05.

      B.     The Complaint Fails to Allege Misconduct—Let Alone the Sort of
             Pervasive Fraud that Could Even Conceivably Justify the Relief
             They Seek.
      Only the most egregious elections misconduct could even conceivably justify

the sort of mass disenfranchisement Plaintiffs seek. See McMichael v. Napa County,

709 F.2d 1268, 1273–94 (9th Cir. 1983) (Kennedy, J., concurring) (invalidation of

election results “has been reserved for instances of willful or severe violations of

established constitutional norms”). Plaintiffs identify no such misconduct. At most,

they allege good-faith disagreements over interpretation of the Election Code. As a

matter of law, such allegations cannot support the relief they seek.

      Observers. Plaintiffs do not have any constitutional right to have observers

present at all, much less to have them so close that they can read every envelope.

See, e.g., Donald J. Trump for President, Inc. v. Boockvar, No. 2:20-CV-966, 2020
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WL 5997680, at *67 (W.D. Pa. Oct. 10, 2020) (“At the outset, ‘there is no individual

constitutional right to serve as a poll watcher[.]’”) (quoting Pa. Democratic Party v.

Boockvar, 238 A.3d 345 (Pa. 2020)). Nor could closer access have had any practical

impact on the canvassing process. The Commonwealth Court, in ordering closer

access in Philadelphia (see Compl. ¶ 145), “acknowledge[d]” that such access is

ultimately “pointless because [observers] may not challenge individual ballots in any

event.” In Re: Canvassing Observation Appeal, 2020 WL 6551316, at *4. An

alleged failure to grant a “pointless” degree of access cannot possibly be an error

capable of invalidating millions of votes.

      The Supreme Court of Pennsylvania has long held that “[n]either an individual

voter nor a group of voters can be justly disfranchised ‘except for compelling

reasons.’” Appeal of Simon, 46 A.2d at 246. In Appeal of Simon, “[i]rregularities

were disclosed” in the counting process, and these irregularities might even “have

facilitated the commission of fraud if fraud had been planned.” Id. But “no [actual]

fraud was alleged,” so there was no compelling basis to invalidate the 3,011 ballots

at issue. Id.

      Here there is a request to invalidate at least 1.3 million ballots. Any alleged

“irregularities” concerning observer access are far less substantial, and there is no

question that “no fraud is alleged.” There is not even any basis to doubt election

officials’ good faith.   See In Re: Canvassing Observation Appeal, 2020 WL

6551316, at *3–4 (despite ordering closer access, concluding that Philadelphia’s
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interpretation of the Election Code was “reasonable” and “in strict compliance with

the text of the Election Code”). Even if county officials erred, “the rights of voters

are not to be prejudiced by [officials’] errors.” Simon, 46 A.2d at 246. The

disenfranchisement of millions of Pennsylvania is plainly not an available remedy.

      Notice and Cure. Nor can the allegations support an injunction against

counting “cured” ballots. (See Compl. p.84.) Pennsylvania law is clear that a voter

“who requests a mail-in ballot and who is not shown on the district register as having

voted may vote by provisional ballot.” 25 P.S. § 3150.16(b)(2). Instead, their

grievance is exclusively that some counties or third parties notified voters that those

voters’ absentee or mail-in ballots were deficient. But it is entirely conjectural that

Defendants’ notice procedures caused Plaintiffs to suffer any injury—that is, that, as

a result of Defendants’ notice procedures rather than their own realization that their

ballots might not be accepted, enough voters cast “cured” ballots to materially alter

the outcome of the election—and the Complaint fails to allege facts supporting such

inference.

      Moreover, even if county boards somehow erred in giving notice, and could

have been enjoined from doing so had a suit been timely filed, nowhere does the

Complaint allege that voters did anything wrong in taking action to correct their

innocent mistakes and cast a valid votes. See In re Recount of Ballots Cast in Gen.

Election on Nov. 6, 1973, 325 A.2d 303, 309 (Pa. 1974) (even where an official

erred, courts reject “invalidation of a ballot where the voter has complied with all
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instructions communicated to him”). Having neglected to challenge county notice-

and-cure procedures in a timely fashion, Plaintiffs ask this Court to presume that

voters who received notice would not have cast a valid vote but for the notice. Such

a presumption defies Pennsylvania’s longstanding policy: “[o]ur goal must be to

enfranchise and not to disenfranchise.” In re Luzerne Cty. Return Bd., 290 A.2d

108, 109 (Pa. 1972).

                                 CONCLUSION

      The Court should dismiss the Complaint.



Dated: November 12, 2020                   Respectfully submitted,

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                   CERTIFICATE OF WORD COUNT

     I HEREBY CERTIFY on this 12th day of November that the above

memorandum contains fewer than 5000 words (4975).

                                              /s/ Witold J. Walczak
                                              Witold J. Walczak




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                          CERTIFICATE OF SERVICE


      I hereby certify that on this date, the foregoing memorandum of law in support

of the motion to dismiss was filed electronically and served on Plaintiffs’ counsel of

record via the ECF system of the U.S. District Court for the Middle District of

Pennsylvania; and via e-mail on counsel for defendants.



Dated: November 12, 2020

                                                    /s/ Witold J. Walczak
                                                    Witold J. Walczak




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